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 6

 7
                                  UNITED STATES DISTRICT COURT
 8
              EASTERN DISTRICT OF CALIFORNIA — SACRAMENTO DIVISION
 9
10
     CHARMAINE BURNETT,                                 Case No.: 2:19-cv-02061-JAM-EFB
11
                    Plaintiff,
12                                                                 ORDER
13          vs.

14 CAPITAL ONE BANK, N.A.
             Defendant.
15

16
                                                  ORDER
17
            Pursuant to the stipulation of the Parties, Capital One Bank, N.A. is dismissed with
18
     prejudice and each party shall bear its own attorneys’ fees and costs.
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            IT IS SO ORDERED.
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     DATED: 4/3/2020                               /s/ John A. Mendez_______________________
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                                                   Hon. JOHN A. MENDEZ
24                                                 UNITED STATES DISTRICT COURT JUDGE

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                                              [PROPOSED] ORDER
